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NOTICE OF DOCUMENT DISCREPANCU_§

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TO: U.S. DlSTRiCTJUDGE / [`_'] U. S. MAGISTKA“TE JUDGE Anthony Battaglia
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CASE NO. 12cv945-AJB-MDD DOCUMENT FlisED BY: Moliamad Ghasemi
CASE TITLE: Comercializadora Recmaq Limitada v. liollywood Auto l\/lall, LLC et al
DOCUMENT ENTlTLED: Notice of Errata

 

 

 

 

 

Upon the electronic filing of the attached document(s), the following discrepancies are noted:

 

 

 

 

   
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

l:] 5.1 Missing time and date on motion and/or supporting documentation d y
l___] 5 3 Document illegible or submitted on theimal facsimile paper
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m|:]7 l or 47. l v ljjl.acking memorandum of points and authorities in suppoit as a separate doeumenvtwm‘
[] 7. l or 47 l Briefs or memorandum exceed length restrictions
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ij 30. iW ijepositions not accepted absent a court order m ‘
m Supplememal documen.ts requer cour_t Ord.e.r ..
I:] Default judgment in sum certain includes calculated interest
m OTHER! ;No provision ior acceptance/Case Status Default
Date Forwarded: 1/3/2013
ORDER OF THE JUDGE / MAGISTRATE JUDGE
IT IS HEREBY ORDERED

 

 

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lcopy oftliis order on all parties

 

Rejected document to be returned to pro se or inmate’? l:l Yes Court copy retained by chambers [:]

Counsel is advised that any further failure to comply with the Loeal Rules may lead to penalties pursuant
to Civil Loeal Ru~le 83.l.

 

Dated: ij/ CHYRS OF: The Honorable Anthony Battaglia

cc: All Parties By:

 

 

 

